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GERARD J. HARRY                 2011 MAY -2 411	    OiTHF,
8837 Wilson Avenue
Parkville, Maryland 21234           CIVIL DIVISIONciRcun       COURT

and                                                 FOR

SALLY L. HARRY                                      BALTIMORE CITY
8837 Wilson Avenue
Parkville, Maryland 21234

         Plaintiffs
V.
                                                    Case No:
WALGREEN COMPANY
300 Wilmot Road
Deerfield, IL 60015

Serve on:
CSC-Lawyers Incorporating Service Co.
7 Saint Paul Street, Suite 1660
Baltimore, MD 21202

and/or

WALGREENS SPECIALTY
PHARMACY, LLC
271 1 Centerville Road, Suite 400
Wilmington, DE 19808

Serve on:
CSC-Lawyers Incorporating Service Co.
7 Saint Paul Street, Suite 1660
Baltimore, MD 21202

         Defendants




                      COMPLAINT AND PRAYER FOR JURY TRIAL

         COMES NOW, Plaintiffs Gerard J. Harry and Sally L. Harry, by and through their
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attorneys, Frederic C. Heyman and the Law Offices of Peter G. Angelos, P.C., bring suit against

the Defendant Walgreen Company and/or Walgreens Specialty Pharmacy, LLC, and in support

thereof state the following:

                                 PARTIES AND JURISDICTION

        1.      At all times relevant herein, Plaintiff Gerard J. Harry was a resident of Maryland

and lived at 8837 Wilson Avenue, Parkville, MD 21234.

        2.      Upon information and belief; Defendant Walgreen Company, is a corporation

organized and existing under the laws of Illinois with a principal place of business at 300

Wilmot Road, Deerfield, Illinois 60015. CSC-Lawyers Incorporating Service Company is the

resident agent and located at 7 Saint Paul Street, Suite 1660, Baltimore, MD 21202. Defendant

Walgreen Company and/or Walgreens Specialty Pharmacy, LLC is referred to hereinafter as

"Walgreen."

       3.       Upon information and belief, Defendant Walgreens Specialty Pharmacy, LLC, is a

corporation organized and existing under the laws of Delaware with a principal place of business

and registered business address at 2711 Centerville Road, Suite 400, Wilmington, DE 19808.

CSC-Lawyers Incorporating Service Company is the resident agent and located at 7 Saint Paul

Street, Suite 1660, Baltimore, MD 21202. Defendant Walgreen Company and/or Walgreens

Specialty Pharmacy, LLC is referred to hereinafter as "Walgreen."

       4.       At all relevant times herein, Defendant Walgreen engaged in continuous and

substantial business in Baltimore, Maryland at the registered business address of 9616 Harford •

Rd., Baltimore, MD 21234.

       5.       At all times relevant herein, Defendant Walgreen, individually and/or through its


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 agents, servants or employees, engaged in the preparation, labeling, sales, importation and/or

 distribution of prescription drugs for ultimate sale and/or use in the United States of America,

 including but not limited to Baltimore City, Maryland, from which Defendant Walgreen derived

or derives substantial revenues.

         6.        At all relevant times, Defendant Walgreen is and was responsible for the actions

and omissions of all of its employees, agents and/or representatives under the doctrines of

responcleat superior and/or actual and/or apparent agency.

        7.         The amount in controversy exceeds the minimum jurisdictional amount of the

Circuit Court for Baltimore City and venue is proper in Baltimore City, Maryland as a forum in

which Defendant Walgreen carries on.a regular business and/or derives revenue therefrom

pursuant to MD Code, Courts and Judicial Proceedings § 6-201.

                               FACTS RELEVANT TO ALL COUNTS

         7.	       Defendant Waigreen is engaged in business in the State of Maryland.

         8.        Upon information and belief, prior to July 8, 2008, Defendant Walgreen,

individually and/or through its agents, servants or employees, engaged in the preparation,

labeling, sale, importation and /or distribution of prescription drugs, including but not limited to

Prednisone.

        9.         Prednisone is a corticosteroid used for its anti-inflammatory effect.

        10.        On or about July 8, 2008, the Plaintiff Gerard J. Harry was prescribed 5mg of

Prednisone six times a day by his gastroenterologist, Nicholas Belitsos M.D., in order to treat

Plaintiff's inflammatory bowel disease.

        1 I.	     In addition to inflammatory bowel disease, the Plaintiff Gerard J. Harry has had a


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history of diabetes mellitus, but was not insulin dependent.

        12.     On or about July 8, 2008, the Plaintiff Gerard J. Harry went to have filled the

aforementioned prescription at Defendant Walgreen's place of business at 9616 Harford Rd.,

Baltimore, MD 21234.

        13.     On or about July 8, 2008 Defendant Walgreen, by themselves and/or through

their agents servants and/or employees processed the script written by Dr. Belitsos and

incorrectly filled the 5mg prescription of Prednisone tablets with 50ma of Prednisone tablets, as

opposed to the 5rng prescribed by Dr. 13elitsos.

        14.     Defendant Walgreen, by themselves and/or through their agents, servants and/or

employees incorrectly packaged; labeled and sold the prescription of Prednisone to the Plaintiff

Gerard J. Harry on the aforementioned date.

        15.     Over the course of approximately the next month, the Plaintiff Gerard J. Harry

developed rising blood sugars with glucose levels in the 400-500 range, characteristic of

hyperglycemia induced by high dose steroids.

        16.    On or about August 8, 2008, the Plaintiff Gerard J. Harry presented to his primary

care physician, Lawrence Snyder M.D., for complaints of a near syncope episode as well as other

neurological symptoms including shortness of breath, blurred vision and difficulty ambulating.

Dr. Snyder ordered a CT scan of the brain that evidenced the presence of cerebral infarcts. Dr.

Snyder thereafter scheduled the.Plaintiff Gerard J. Harry for a echocardiogram and MRI of the

head on August 11, 2008.

        17.    On or about August 11, 2008, a MRI performed on Plaintiff Gerard J. Harry at

Advanced Radiology confirmed the presence of bilateral cerebellar infarcts. Plaintiff's neurologic


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 symptoms continued and he was subsequently admitted to St. Joseph Medical Center, on or about

 August 12, 2008, for a cerebellar cerebrovascular accident. Plaintiff Gerard J. Harry was

discharged the following day.

         18.     As a direct result of the aforementioned events, Plaintiff Gerard J. Harry is now a

insulin dependent diabetic who continues to experience extreme pain and suffering, including but

not limited to overall loss of stamina and/or strength, pain/numbness/tingling in his lower legs,

memory loss and difficulty completing daily activities and/or chores.

                                      COUNT I- NEGLIGENCE

         19.     Plaintiff incorporates herein by reference paragraphs one (1) through eighteen

(18), as if fully set forth herein:

        20.       Plaintiff Gerard J. Harry, is now a fifty-six (56) year old male who resides at

8837 Wilson Avenue, Parkville, Maryland 21234.

        21. On or about July 8, 2008, Plaintiff Gerard .1. Harry was a paying customer at

Defendant Walgreen's place of business at 9616 Harford Rd., Baltimore, MD 21234.

        22.     At all relevant times herein, Defendant Walgreen, individually and/or through its

agents, servants or employees owed Plaintiff Gerard J. Harry a duty to use reasonable care in

preparing, labeling, selling and/or distributing prescription drugs, including the aforementioned

Prednisone prescription, for sale and/or use by Plaintiff Gerard J. Harry as indicated in the script

referenced herein.

        23.     Defendant Walgreen, individually and/or through its agents, servants or

employees breached the duty owed to Plaintiff Gerard J. Harry when they acted in a negligent

manner by incorrectly filling the 5mg prescription of Prednisone tablets with 50mg of Prednisone


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tablets.

           24.   Per Dr. Belitsos, Plaintiff Gerard J. Harry should have been taking 30mg of

Prednisone per day. Due to the negligence of Defendant Walgreen as aforesaid by incorrectly

filling the script, Plaintiff was taking 300mg of Prednisone per day.

           25.    It is alleged that on or about July 8, 2008, Defendant Walgreen located at 9616

Harford Rd., Baltimore, MD 21234 did not have appropriate procedures or policies in effect so as

to not allow negligent dispensing of prescription medication to occur.

           26.    It is also alleged that if on or about July 8, 2008, Defendant Walgreen, located at

9616 Harford Rd., Baltimore, MD 21234, had appropriate procedures or policies that were in

effect so as to not allow this incident to occur, then those procedures or policies were not

properly followed by the Defendant or their employees and/or agents, actual and/or apparent,

including, but not limited to, pharmacists, pharmacy assistants, and other pharmacy clerks.
         •
        27.      As a direct and proximate result of Defendant's negligent preparation and/or

distribution of Prednisonc tablets, Plaintiff' Gerard J. Harry developed severe hyperglycemia

which in turn caused increased blood viscosity and hypercoagulability resulting in a

cerebrovascular accident in addition to injuries and damages noted herein above and below.

           28.    As a further direct and proximate result of the negligence of Defendant

Walgreen, including its agents, servants and/or employees, Plaintiff Gerard J. Harry went from

being a non-insulin dependent diabetic to an insulin dependent diabetic.

        29.       As a further direct and proximate result of the negligence of the Defendant

Walgreen, including its agents, servants and/or employees, Plaintiff Gerard J. Harry has

sustained and continues to sustain extreme pain and suffering, emotional distress, lost wages and 	     •
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 has incurred and is incurring medical expenses and other expenses all of which will continue into

 the future.

         30.      It is alleged that all of the above injuries and damages are as a direct and

proximate result of the negligence of the Defendant as referenced herein, without any

contributory negligence on the part of the Plaintiff Gerard J. Harry contributing thereto.

         WHEREFORE, Plaintiff Gerard J. Harry, brings this action against the above named

Defendant and respectfully requests that he be awarded compensatory damages in excess of

51,500,000, plus costs and such other and further relief as may be necessary and proper.

                                  COUNT II- LOSS OF CONSORTIUM

        Plaintiffs, Gerard J. Harry and Sally L. Harry, incorporate by reference as if fully set forth

herein all facts and allegations as set forth in paragraphs one (1) through thirty (30) of the

Complaint and further allege as follows:

        31.      Plaintiffs, Gerard .1. Harry and Sally L. Harry, were at all times relevant to this

claim, Husband and Wife.

        32.      The Plaintiff Gerard J. Harry's, injuries and/or damages were directly and

proximately caused by the Defendant's negligence as aforesaid, without any negligence or

assumption of the risks on the part of either of the Plaintiffs Gerard J. or Sally L. Harry causing

or contributing thereto,

        33.      The Defendant's negligence .direetly and proximately caused and continues to

cause the Plaintiffs Gerard J. and Sally L. Harry to suffer loss of consortium, loss of services,

support, affection, guidance, comfort, society, and companionship, and/or other damages to the

permanent detriment of their marital relationship.


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        34.	   Plaintiffs Gerard J. and Sally L. Harry refer to the negligence of the Defendant as a

direct proximate cause of each of their injuries and/or damages complained of, with the

Plaintiffs Gerard J. and Sally L. Harry in no way being contributorily negligent.

        WHEREFORE, the Plaintiffs, Gerard J. Harry and Sally L. Harry, as Husband and Wife,

bring this action against the above named Defendant and claim compensatory damages in excess

of $1,500;000, and for such other and further relief as may be necessary and proper.




                                              Frederic C. Heyman
                                              Glenn E. Mintzer
                                              Ashley M. LeBow
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                       PRAYER FOR ,TURY TRIAL

   Plaintiffs' respectfully pray a jury trial in the above captioned matter.




                                    Frederic C. Heyman
                                    Glenn E. Mintzer
                                    Ashley M. LeBow
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